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28                              JOINT NOTICE OF SETTLEMENT OF FEE REQUEST
                                              4:17-CV-01864-HSG
        Case 4:17-cv-01864-HSG Document 193 Filed 03/23/23 Page 2 of 3



 1
                                  UNITED STATES DISTRICT COURT
 2
                               NORTHERN DISTRICT OF CALIFORNIA
 3
     ROBIN BERMAN, BO KANG, KHASHAYAR No. 4:17-CV-01864-HSG
 4   MIRFAKHRAEI, THONG VAN VU, DONNA
     VIERA-CASTILLO, GIRISH RAMESH,
 5   PATRICK HANLEY, ILANA SHTERNSHAIN,
     and MANDY SCHWARZ,                 JOINT NOTICE OF SETTLEMENT OF
 6                                      FEE REQUEST
                     Plaintiffs,
 7
            v.                                             Hearing Date: May 18, 2023
 8                                                         Time:         2:00 p.m.
     MICROCHIP TECHNOLOGY                                  Courtroom:    2 Floor 4
 9   INCORPORATED, a corporation; ATMEL                    Judge:        Hon. Haywood S. Gilliam, Jr.
     CORPORATION, a corporation; and ATMEL
10   CORPORATION U.S. SEVERANCE                            Action Filed: April 4, 2017
     GUARANTEE BENEFIT PROGRAM, an
11   employee benefit plan,
12                          Defendants.
13

14          The parties have fully resolved the issues raised in Plaintiffs’ March 2, 2023 motion for

15   fees, costs and expenses [Dkt. 192], and agree that no further briefing on the motion is necessary.

16   Pursuant to the parties’ agreement, Plaintiffs will file a request for dismissal with prejudice of this

17   action by April 10, 2023, assuming payment in full is completed by April 3, 2023 as required by

18   the agreement.

19

20   DATED: March 23, 2023                         Respectfully submitted,

21

22                                                 By: /s/Michael Rubin (with permission)
                                                          Michael Rubin
23
                                                   ALTSHULER BERZON LLP
24                                                 Michael Rubin
                                                   Matthew J. Murray
25
                                                   MCGUINN, HILLSMAN & PALEFSKY
26                                                 Cliff Palefsky
27                                                 Keith Ehrman

28
                                  JOINT NOTICE OF SETTLEMENT OF FEES
                                            4:17-CV-01864-HSG
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 9                                                     Valparaiso, IN 46383

10                                                      Attorneys for Defendants

11                                          E-Signature Attestation

12   Pursuant to Local Rule 5-1(h), I attest that each of the other signatories have concurred in the filing

13   of this document.

14                                                 By: /s/ Mark G. Kisicki
                                                       Mark G. Kisicki
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                                  JOINT NOTICE OF SETTLEMENT OF FEES
                                            4:17-CV-01864-HSG
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